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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK



   TRUE RETURN SYSTEMS LLC,

                           Plaintiff,

         v.                                             Case No. 1:22-cv-08478-VSB

   MAKERDAO,

                           Defendant.



                  DECLARATION OF DAVID A. BOAG IN SUPPORT OF
                  PLAINTIFF’S MOTION FOR A DEFAULT JUDGMENT

       I, David A. Boag, declare as follows:

       1.       I am over the age of 18 and a member in good standing of the State Bar of New

York and certified to practice before this Court.

       2.       I am the principal of Boag Law, PLLC, counsel of record for plaintiff True Return

Systems, LLC (“TRS” or “Plaintiff”).

       3.       I make this declaration based upon personal knowledge, and I could and would

competently testify to the facts stated herein if called to do so.

       4.       Exhibit A is a true and correct copy of a screen printout from

<https://vote.makerdao.com/terms>, which was retrieved on February 2, 2023.

       5.       Exhibit B is a true and correct copy of a screen printout from

<https://www.dfs.ny.gov/virtual_currency_businesses>, which was retrieved on February 2, 2023.

       6.       Exhibit C is a true and correct copy of a screen printout from

<https://cointelegraph.com/news/are-there-too-many-cryptocurrencies>, which was retrieved on

February 3, 2023.


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        7.       Exhibit D is a true and correct copy of a screen printout from

<https://forum.makerdao.com/t/gusd-makerdao-partnership-update/19428>, which was retrieved

on February 2, 2023.

        8.       Exhibit E is a true and correct copy of “Track One request Granted,” which was

retrieved from <https://patentcenter.uspto.gov/applications/15923317/ifw/docs> on February 2,

2023.

        9.       Exhibit F is a true and correct copy of “Notice of Allowance and Fees Due,” which

was retrieved from <https://patentcenter.uspto.gov/applications/15923317/ifw/docs> on February

2, 2023.

        10.      Exhibit G is a true and correct copy of a screen printout from

<https://www.linkedin.com/pulse/what-blockchain-ledger-technology-can-do-exchange-traded-

jack-fonss/>, which was retrieved on February 2, 2023.

        11.      Exhibit H is a true and correct copy of a screen printout from

<https://forum.makerdao.com/t/mip40c3-sp67-modify-core-unit-budget-strategic-happiness-sh-

001/13805>, which was retrieved on February 5, 2023.

        12.      Exhibit I is a true and correct copy of a screen printout from

<https://forum.makerdao.com/t/mip39c2-sp11-strategic-happiness-core-unit/8006>, which was

retrieved on February 5, 2023.

        13.      Exhibit J is a true and correct copy of a screen printout from

<https://forum.makerdao.com/t/discussion-the-dao-needs-a-serious-discussion-about-legal-

structure/10764>, which was retrieved on February 5, 2023.




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        14.    Exhibit   K     is       a    true    and     correct     copy        of   download   from

<https://dune.com/SebVentures/maker‐‐‐accounting_1>, which was retrieved on December

4, 2022.

        15.    Exhibit   L    is    a       true    and    correct     copy     of    a   download   from

<https://dune.com/SebVentures/maker‐‐‐accounting_1>, which was retrieved on December

4, 2022.

        16.    Exhibit M is a true and correct copy of a screen printout from

<https://cdn.ymaws.com/members.lesusacanada.org/resource/collection/D8145BC5-DBCC-

4F8F-8B68-593C0B0D4776/2021_Royalty_Rate_&_Deal_Terms_Executive_Summary.pdf>,

which was retrieved on February 3, 2023.

        17.    Exhibit N is a true and correct copy of a screen printout from

<https://www.inquartik.com/blog/patent-licensing-a-closer-look-part-2/>, which was retrieved on

February 2, 2023.

        18.    Exhibit O is a true and correct copy of a screen printout from

<https://www.upcounsel.com/patent-licensing-royalty-rates>, which was retrieved on February 2,

2023.

        19.    Exhibit P is a true and correct copy of a screen printout of the Dai Foundation and

indication of Mr. Samarghandi as a Dai board member from <https://cvrapi.dk/virksomhed/dk/dai-

fonden/40645799> retrieved on February 13, 2023, and attached is the original email from Mr.

Samarghandi which was received on December 15, 2022.

        20.    Exhibit Q is a true and correct copy of a screen printout from

<https://www.jdsupra.com/legalnews/how-much-is-your-invention-worth-or-how-4861877/>,

which was retrieved on February 3, 2023.



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       21.     Exhibit R is a true and correct copy of a screen printout from

<https://forum.makerdao.com/t/infringement-of-trss-u-s-patent-no-10-025-797-by-

makerdao/16583>, which was retrieved on February 5, 2023. As of this Declaration, the post had

approximately 1,100 views and 11 replies.

       22.     Exhibit S is a true and correct copy of a screen printout from

<https://twitter.com/BOAGIP/status/1547348049130930176>, which was retrieved on February

3, 2023.

       23.     Exhibit T is a true and correct copy of a screen printout from

<https://forum.makerdao.com/t/dai-foundation-position-on-patent-infringement-complaints-

against-makerdao/17112>, which was retrieved on February 4, 2023.

       24.     Exhibit U is a true and correct copy of a screen printout from

<https://twitter.com/InventFi/status/1501974327381667844 >, which was retrieved on February

3, 2023. As of this Declaration, the post had more than 7,250 impressions and 150 engagements.

       25.     Exhibit V is a true and correct copy of a screen printout from

<https://forum.makerdao.com/t/re-makerdaos-use-of-u-s-patent-no-10-025-797-method-and-

system-for-separating-storage-and-process-of-a-computerized-ledger-for-improved-

function/13822>, which was retrieved on February 5, 2023. As of this Declaration, the post had

more than 1,200 views and 8 replies.

       26.     Exhibit W is a true and correct copy of a screen printout from

<https://forum.makerdao.com/t/mip84-activate-protocol-owned-vault-emulation/17713/48>,

which was retrieved on February 5, 2023.




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       27.     Exhibit X is a true and correct copy of a screen printout from

<https://forum.makerdao.com/t/daif-cu-update-q4-2022/19522>, which was retrieved on February

2, 2023.

       28.     Exhibit Y is a true and correct copy of a screen printout from

<https://defillama.com/protocol/makerdao >, and selecting the date December 31, 2021, from the

graphic, which was retrieved on February 3, 2023.

       29.     Exhibit Z is a true and correct copy of a screen printout from

<https://www.federalreserve.gov/releases/lbr/20211231/default.htm>, which was retrieved on

February 3, 2023.

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

       DATED this 13th day of February, 2023.




                                             ________________________________
                                             David A. Boag




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